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UNITED STATES OF AMERICA

VS. NO. 1:04-10062-01-".[`

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MICHAEL L. JACKSON

ORDER ON JURY VERDICT

This cause came on to be tried on May lO, 2005,

Assistant U. S. Attorney James W. Powell, representing the
government, and the defendant appeared in person and with counsel,
M. Dianne Smothers, Assistant Federal Defender, who was
appointed.

Upon statement of counsel that they were ready for trial on
the not guilty plea heretofore entered by the defendant, a jury
was called, qualified, tried, accepted and sworn to well and truly
try the issues herein joined and a true verdict render according to
the law and evidence.

After listening to all of the testimony, arguments of counsel
and charge of the court, the alternate juror was discharged and

the jury retired to the jury room to begin its deliberation. After

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due deliberation, the jury returned into open Court on May 11,
2005, and announced its verdict of GUILTY as charged in Count
l of the lndictment and NOT GUILTY as charged as to Count 2 of the
indictment. Jurors polled individually, thanked for services and
discharged.

This case is set for sentencing on Tuesdayl August 9l 2005

at 8:30 a.m.

The defendant is remanded to the custody of the U. S. Marshal.

IT IS SO ORDERED

owe D. TODD
TED STATES DISTRICT JUDGE

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UNITED sTATE DISTRICT COURT - WESERTN DTRCT oFTENNESSEE

     

Notice of Distribution

This notice confirms a copy of the document docketed as number 65 in
case 1:04-CR-10062 Was distributed by faX, mail, or direct printing on
May ]8, 2005 to the parties listed.

 

 

M. Dianne Smothers

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Honorable J ames Todd
US DISTRICT COURT

